         Case 3:15-cr-00155-RNC Document 160 Filed 07/08/16 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                                    :
UNITED STATES OF AMERICA,                           :
                                                    :
                                                    :
                      v.                            :       S1 No. 15-cr-00155 (RNC)
                                                    :
ROSS SHAPIRO,                                       :
MICHAEL GRAMINS and                                 :       July 8, 2016
TYLER PETERS                                        :
                                                    :
                                                    :

 DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EVIDENCE AND ARGUMENT
           REGARDING THE DEFENDANTS’ COMPENSATION


       Defendants Ross Shapiro, Michael Gramins, and Tyler Peters respectfully move,

pursuant to Federal Rules of Evidence 401 and 403, to preclude the government from offering

any evidence at trial relating to the defendants’ compensation at Nomura Securities International,

Inc. (“Nomura”) or at any financial institution at which they worked prior to Nomura.

       WHEREFORE, for the foregoing reasons and those set forth in the accompanying

Memorandum of Law, defendants respectfully request that the Court grant this Motion in Limine.

                                                    Respectfully submitted,

Dated: July 8, 2016


                                                    GREENBERG TRAURIG LLP

                                                By: /s/ Marc L. Mukasey
                                                   Marc L. Mukasey (PHV07694)
                                                   200 Park Avenue
                                                   New York, NY 10166
                                                   Telephone: (212) 801-9200
                                                   Facsimile: (212) 801-6400
                                                   Attorneys for Michael Gramins
Case 3:15-cr-00155-RNC Document 160 Filed 07/08/16 Page 2 of 3



                                  PETRILLO KLEIN & BOXER LLP

                               By: /s/ Guy Petrillo
                                  Guy Petrillo (CT19924)
                                  655 Third Avenue, 22nd Floor
                                  New York, New York 10017
                                  Telephone: (212) 370-0330
                                  Facsimile: (212) 370-0391
                                  Attorneys for Ross Shapiro

                                  ALSTON & BIRD LLP

                               By: /s/ Brett D. Jaffe
                                  Brett D. Jaffe (PHV07701)
                                  90 Park Avenue
                                  15th Floor
                                  New York, NY 10016-1387
                                  Telephone: (212) 210-9400
                                  Facsimile: (212) 210-9444
                                  Attorneys for Tyler Peters
         Case 3:15-cr-00155-RNC Document 160 Filed 07/08/16 Page 3 of 3



                               CERTIFICATION OF SERVICE

       I hereby certify that on July 8, 2016, a copy of foregoing Motion in Limine to Exclude

Evidence and Argument Regarding the Defendants’ Compensation was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.

Dated: New York, New York
       July 8, 2016

                                                     /s/ Marc L. Mukasey
                                                     Marc L. Mukasey (PHV07694)
                                                     200 Park Avenue
                                                     New York, NY 10166
                                                     Telephone: (212) 801-9200
                                                     Facsimile: (212) 801-6400
                                                     Email: mukaseym@gtlaw.com
